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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:                                              CASE NO. 13-68985-mgd

GREGORY LAMAR ALMOND,                               CHAPTER: 13

              Debtor.                               JUDGE: MARY GRACE DIEHL

THE BANK OF NEW YORK MELLON, FKA                    CONTESTED MATTER
THE BANK OF NEW YORK, AS
SUCCESSOR TRUSTEE TO JP MORGAN
CHASE BANK, N.A. AS TRUSTEE, FKA
BANK ONE, NATIONAL ASSOCIATION,
AS TRUSTEE FOR BEAR STEARNS ASSET
BACKED SECURITIES TRUST 2002-2,
ASSET BACKED CERTIFICATES,SERIES
2002-2,

              Movant,
v.

GREGORY LAMAR ALMOND, Debtor
JOCELYN ALMOND, Co-Debtor
MARY IDA TOWNSON, Trustee,

              Respondent(s).


                                  NOTICE OF HEARING

       PLEASE TAKE NOTICE that the Movant named above has filed a Motion for Relief
from the Automatic Stay and the Co-Debtor Stay, as well as related papers with the Court
seeking an Order Granting Relief from the Automatic Stay and the Co-Debtor Stay.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
in Courtroom 1201, United States Courthouse, 75 Ted Turner Drive SW, Atlanta, GA 30303, at
2:00 p.m. on October 5, 2016.

       NOTICE TO CO-DEBTOR: This Motion seeks relief from the co-debtor stay pursuant
to 11 USC Section 1301. If you do not file and serve a written objection to this Motion within
20 days from the date this Motion was filed, the Motion may be granted and the co-debtor stay
may be terminated. Objections shall be filed with the Clerk, U.S. Bankruptcy Court, at the
address shown in the next paragraph, and shall be served by U.S. Mail on the undersigned
attorney whose name and address appear at the end of this notice.
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         NOTICE TO DEBTOR: Your rights may be affected by the Court’s ruling on these
pleadings. You should read these pleadings carefully and discuss them with your attorney, if you
have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult one.)
If you do not want the Court to grant the relief sought in these pleadings, or if you want the
Court to consider your views, then you and/or your attorney must attend the hearing. You may
also file a written response to the pleading with the Clerk at the address stated below, but you are
not required to do so. If you file a written response, you must attach a certificate stating when,
how, and on whom (including addresses) you served the response. Mail or deliver your response
so that it is received by the Clerk at least two business days before the hearing. The address of
the Clerk’s Office is: Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive SW, Room 1340,
Atlanta, GA 30303. You must also mail a copy of your response to the undersigned at the
address stated below.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. If a final decision cannot
be rendered by the Court within sixty (60) days of the date of the request, Movant waives the
requirement that a final decision be issued within that period. Movant consents to the automatic
stay remaining in effect until the Court orders otherwise.


                                                      /s/ Brian K. Jordan
                                                      Brian K. Jordan, Bar No.: 113008
                                                      Attorney for Movant
                                                      Aldridge Pite, LLP
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
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                                                      Fax: (888) 873-6147
                                                      Email: bjordan@aldridgepite.com
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                                 CASE NO. 13-68985-mgd

GREGORY LAMAR ALMOND,                                  CHAPTER: 13

               Debtor.                                 JUDGE: MARY GRACE DIEHL

THE BANK OF NEW YORK MELLON, FKA                       CONTESTED MATTER
THE BANK OF NEW YORK, AS
SUCCESSOR TRUSTEE TO JP MORGAN
CHASE BANK, N.A. AS TRUSTEE, FKA
BANK ONE, NATIONAL ASSOCIATION,
AS TRUSTEE FOR BEAR STEARNS ASSET
BACKED SECURITIES TRUST 2002-2,
ASSET BACKED CERTIFICATES, SERIES
2002-2,

               Movant,
v.

GREGORY LAMAR ALMOND, Debtor
JOCELYN ALMOND, Co-Debtor
MARY IDA TOWNSON, Trustee,

               Respondent(s).


                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                           AND THE CO-DEBTOR STAY

         COMES NOW Movant named above and shows this Court the following:

      1.       This Motion is made pursuant to Section 362(d) of the Bankruptcy Code for relief

from the automatic stay and pursuant to Section 1301(c) of the Bankruptcy Code for relief from

the co-debtor stay, for all purposes allowed by law and the contract between the parties,

including, but not limited to, the right to foreclose on certain real property by a private power of

sale contained in a certain Deed to Secure Debt.

      2.       Movant is the holder or the servicer of a loan secured by certain real property in
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which the Debtor has an interest. Said real property is security for a Promissory Note, and is

commonly known as 9914 Scarlet Oak Drive, Douglasville, GA 30135.

      3.       There has been a default in mortgage payments which have come due since this

case was filed. As of July 29, 2016, thirty five (35) post petition payments have been missed.

Additionally, this loan has matured under the terms of the loan documents and the confirmed

Plan does not provide for the total debt.

      4.       The unpaid principal balance is $62,386.33, and interest is due thereon in

accordance with the Promissory Note.

      5.       Because of the default and clear inability to make all required payments, Movant

is not adequately protected. Movant's interest would also be irreparably harmed by the

continuation of the co-debtor stay.

      6.       Movant requests that in the event the Motion is granted, the Trustee be ordered to

cease funding any balance of Movant’s claim and that Fed. R. Bank. P. 3002.1 be held not to

apply to Movant, its successors and/or assigns, as Movant’s claim would not be provided for in

the Plan pursuant to Section 1322(b)(5) of the Code.

      7.       Movant requests that the provisions of Fed. R. Bankr. P 4001(a)(3) be waived.

      8.       JPMorgan Chase Bank, N.A., services the loan on the property referenced in this

Motion for Relief. In the event the automatic stay in this case is lifted/set aside, this case

dismisses, and/or the debtor obtains a discharge and a foreclosure action is commenced on the

mortgaged property, the foreclosure will be conducted in the name of The Bank of New York

Mellon, FKA The Bank of New York, as successor Trustee to JP Morgan Chase Bank, N.A. as

Trustee, FKA Bank One, National Association, as Trustee for Bear Stearns Asset Backed

Securities Trust 2002-2, Asset Backed Certificates, Series 2002-2. Said entity, directly or
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through an agent, has possession of the promissory note. The promissory note is either made

payable to said entity or has been duly endorsed.

       WHEREFORE, Movant prays for an Order lifting the automatic stay and co-debtor stay,

authorizing it to proceed with the exercise of its private power of sale and to foreclosure under its

Loan Documents and appropriate state statutes. Movant also prays that Fed. R. Bankr. P. 3002.1

be held not applicable in accordance with the request hereinbefore, that Fed. R. Bankr. P.

4001(a)(3) be waived. Movant also prays that the Chapter 13 Trustee make no further payments

on account of Movant’s secured claim, that Movant be permitted to contact the Debtor or

Debtor’s Counsel, as appropriate, through its agents, servicers and representatives for the

purpose of engaging in discussions and consideration for possible loss mitigation options, and for

such other and further relief as is just and equitable.


                                                          /s/ Brian K. Jordan
                                                          Brian K. Jordan, Bar No.: 113008
                                                          Attorney for Movant
                                                          Aldridge Pite, LLP
                                                          Fifteen Piedmont Center
                                                          3575 Piedmont Road, N.E., Suite 500
                                                          Atlanta, GA 30305
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                              Case No. 13-68985-MGD

 GREGORY LAMAR ALMOND,                               Chapter 13

               Debtor.


                               CERTIFICATE OF SERVICE

   I, the undersigned, hereby certify under penalty of perjury that I am, and at all times
hereinafter mentioned, was more than 18 years of age, and that on the August 31, 2016, I served
a copy of Notice of Hearing and Motion for Relief from the Automatic Stay and Co-Debtor
Stay Declaration in Support of Motion for Relief from Stay which was filed in this
bankruptcy matter on the August 31, 2016, in the manner indicated:
The following parties have been served via e-mail:

David G. Poston                                  Mary Ida Townson
bknotice@cochranfirmbk.com

The following parties have been served via U.S. First Class Mail:

Gregory Lamar Almond                            Jocelyn Almond
9914 Scarlet Oak Drive                          9914 Scarlet Oak Drive
Douglasville, GA 30135                          Douglasville, GA 30135

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Dated: August 31, 2016                      /s/ Brian K. Jordan
                                            Brian K. Jordan, Bar No.: 113008
                                            Attorney for Movant
                                            Aldridge Pite, LLP
                                            Fifteen Piedmont Center
                                            3575 Piedmont Road, N.E., Suite 500
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